     Case 1:11-cr-00255-TWT-RGV Document 571 Filed 01/18/13 Page 1 of 2




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


 UNITED STATES OF AMERICA,
                                           CRIMINAL FILE NO.
         v.                                1:11-CR-255-4-TWT
 ASHLEY HENDERSON
 also known as
 AJ Henderson,
   Defendant.


                                      ORDER

      This is a criminal    action.   It is before the Court on the Report and

Recommendation [Doc. 560] of the Magistrate Judge recommending denying the

Defendant’s Motion to Dismiss Indictment Because of Discrimination in Selection of

Grand Jury [Doc. 190]. The alleged under representation of the Atlanta Division does

not satisfy the requirement of showing absolute disparity in representation of

minorities on the Grand Jury. The Court approves and adopts the Report and

Recommendation as the judgment of the Court. The Defendant’s Motion to Dismiss

Indictment Because of Discrimination in Selection of Grand Jury [Doc. 190] is

DENIED.
       Case 1:11-cr-00255-TWT-RGV Document 571 Filed 01/18/13 Page 2 of 2




         SO ORDERED, this 18 day of January, 2013.


                                      /s/Thomas W. Thrash
                                      THOMAS W. THRASH, JR.
                                      United States District Judge




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